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                    UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MARJORIE M. GILLESPIE, et al.,
                            :
                            : CIVIL ACTION
               Plaintiffs,  :
                            : No. 15-CV-00950
   v.                       :
                            :
LORI DRING AND NANCY ASARO, :
                            :
               Defendants.  :
                            :


                      PLAINTIFFS’ BRIEF IN SUPPORT OF
                     MOTION FOR RELIEF FROM JUDGMENT

       Sometimes, glaring facts evade detection. The glaring fact that evaded

detection in this case was that the defendants were citizens of the same state as one

of the plaintiffs, precluding the exercise of jurisdiction by this Court.

       The first inquiry when an action is brought in federal court is whether the

case falls within the court’s authority to decide it. As Justice Scalia observed in

Steel Company v. Citizens for a Better Environment, 523 U.S. 83, 94–95 (1998):

                “Without jurisdiction the court cannot proceed at all in any
                cause. Jurisdiction is power to declare the law, and when
                it ceases to exist, the only function remaining to the court
                is that of announcing the fact and dismissing the cause.”
                Ex parte McCardle, 7 Wall. 506, 514, 19 L.Ed. 264
                (1868). “On every writ of error or appeal, the first and
                fundamental question is that of jurisdiction, first, of this
                court, and then of the court from which the record comes.
                This question the court is bound to ask and answer for
                itself, even when not otherwise suggested, and without


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                respect to the relation of the parties to it.” Great Southern
                Fire Proof Hotel Co. v. Jones, [177 U.S. 449, 453 (1900)].
                The requirement that jurisdiction be established as a
                threshold matter “spring[s] from the nature and limits of
                the judicial power of the United States” and is “inflexible
                and without exception.” Mansfield, C. & L.M.R. Co. v.
                Swan, 111 U.S. 379, 382 (1884).

Regretfully, this threshold inquiry on subject matter jurisdiction was not made

either by the Court or by the parties, even though the lack of jurisdiction was

patent on the face of the Complaint.

       Undersigned counsel only became involved in this matter very recently. A

close reading of the Complaint revealed that, at the time the action was brought,

there was not diversity of citizenship because one of the plaintiffs, Robert J.

Clauss, was a citizen of New Jersey, and both defendants were citizens of New

Jersey. The original Complaint [ECF No. 1] lists, “Robert J. Clauss, 800 Forest

Avenue, Apartment 11A, Westfield, NJ 07090,” on page 13. On page 14, the

Complaint lists Defendants Lori Dring and Nancy Asaro (“Dring” or

“Defendants”) as residing in Oak Ridge, NJ and Wayne, NJ, respectively. Despite

Plaintiffs’ own erroneous averment at Paragraph 1 of the Complaint – “The

Plaintiffs . . . are all . . . citizens, residents, and domiciliaries of states other than

New Jersey” – Mr. Clauss was in fact a New Jersey citizen and resident when the

Complaint was filed. Therefore, the Court never had subject matter jurisdiction



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over this action and the Court thus lacked authority to issue its orders and

judgment in this case.

       Absence of jurisdiction can be brought up at any time while the action

remains pending, and can even be raised by the party who sought to invoke the

Court’s limited subject matter jurisdiction. Frett-Smith v. Vanterpool, 511 F.3d

396, 398 n.3 (3d Cir. 2008). Because it is indisputable that diversity jurisdiction

was not present when this action was brought, Plaintiffs Marjorie M. Gillespie, et

al. (“Gillespie” or “Plaintiffs”) are constrained to now move pursuant to Rule

60(b)(4) of the Federal Rules of Civil Procedure for relief from the judgment and

orders in this case and dismissal of the case in its entirety.

I.     PROCEDURAL HISTORY AND STATEMENT OF FACTS

       For decades, the parties to this suit, along with a non-party, Ariel Land

Owners, Inc. (“ALO”), have litigated property disputes at and near Lake Ariel, in

Wayne County, Pennsylvania. On May 15, 2015, Plaintiffs, 117 individual owners

of property along the western shore of Lake Ariel, brought the underlying suit

against Defendants for breach of a settlement agreement entered into to resolve

previous litigation (the “Settlement Agreement”). Plaintiffs claim that

Defendants, siblings who own a narrow strip of land (approximately 2 ½ feet wide)

– the West Shore Strip – between the Plaintiffs’ property and the waters of the



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lake,1 failed to fulfill their contractual obligation to grant Plaintiffs an easement

over the northern part of the western shore of Lake Ariel (the “West Shore

Strip”). In addition, Plaintiffs brought a claim for a prescriptive easement over the

West Shore Strip.

       Plaintiffs filed an Amended Complaint on November 24, 2015. [ECF No.

22]. On December 23, 2015, Defendants answered Plaintiffs’ Amended Complaint

and asserted a counterclaim for trespass. [ECF No. 25]. Both parties also sought

attorneys’ fees and costs pursuant to the Settlement Agreement. After three years

of litigation, on October 10, 2018, the Court granted summary judgment in favor of

Defendants and directed the Clerk to mark the case closed. [ECF No. 99].

However, the Defendants’ counterclaim remained undecided. When this fact was

brought to its attention, the Court, on October 29, 2018, directed the Clerk to

reopen the case. [ECF No. 104].

       In an effort to supply the necessary finality to the summary judgment ruling

so that an appeal could be taken, the parties submitted and the Court entered on

April 23, 2019 a Stipulated Order whereby Defendants’ counterclaim was

voluntarily dismissed without prejudice. [ECF No. 114]. The parties also agreed


1
  This strip of land lies between the low water and high water marks of Lake Ariel. The
remaining lake bed was adjudicated to be owned by ALO in a decision affirmed by the U.S.
Court of Appeals for the Third Circuit, Ariel Land Owners, Inc. v. Dring, 374 F. App'x 346, 350
(3d Cir. 2010).


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that Defendants would still proceed on their request for attorneys’ fees and costs.

[Id.]. On October 17, 2019, the Court granted in part and denied in part

Defendants’ Application for attorneys’ fees and costs. [ECF No. 136]. Plaintiffs

have appealed both the order granting summary judgment in favor of Defendants

and the order awarding Defendants attorneys’ fees and costs. [See ECF Nos. 115

& 137].

       Despite the extensive litigation to date, the Court never properly had subject

matter jurisdiction over this case. It is undisputed that, at the time the Complaint

was filed, Defendants were citizens of New Jersey. [Compare Am. Compl., ECF

No. 22, ¶¶ 4–5, with Defs.’ Answer, ECF No. 25, ¶¶ 4–5 (admitting that

Defendants are New Jersey citizens)]. At the time the Complaint was filed,

Plaintiff Robert J. Clauss was also a citizen of New Jersey.2 [See Declaration of

Robert J. Clauss, attached to Plaintiffs’ Motion as Exhibit A]. Although Mr.

Clauss had owned property at Lake Ariel since around 1986, Mr. Clauss had been

a resident of New Jersey since 1988. [Id. at ¶ 4]. Mr. Clauss lived and worked in

New Jersey. [Id.]. Mr. Clauss filed and paid income taxes in New Jersey. [Id. at ¶

7]. Mr. Clauss voted in New Jersey, and maintained a New Jersey driver’s license.

2
 As noted above, undersigned counsel became involved in this matter for the first time in the
summer of 2020. When the jurisdictional defect was noticed, undersigned counsel informed the
newly retained counsel for Defendants of the issue. At the time, the parties were pursuing
mediation. The mediation was concluded on October 23, 2020, and the Plaintiffs’ Rule 60
motion was filed on October 29, 2020.

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[Id. at ¶¶ 5–6]. Mr. Clauss was physically present in New Jersey and intended

New Jersey to be his domicile; thus, he was a New Jersey citizen. [Id. at ¶ 8]. It

was not until August 2015, after Mr. Clauss’s son went off to college, that Mr.

Clauss decided to move to his Lake Ariel property full time. [Id. at ¶ 9]. He did

not renew his apartment lease in New Jersey, which expired in September 2015.

[Id. at ¶ 10]. Per his pay stubs, Mr. Clauss paid income tax in New Jersey through

August 22, 2015. [Id. at ¶ 7]. In September 2015, Mr. Clauss physically moved

out of his Westfield, New Jersey apartment. [Id. at ¶ 11]. On September 16, 2015,

Mr. Clauss submitted an official change of address application with the United

States Postal Service. [Id. at ¶ 12].

II.    ARGUMENT

            A. Legal Standard

       Rule 60(b) allows a court, “[o]n a motion and just terms, [to] relieve a party

or its legal representative from a final judgment, order, or proceeding for the

following reasons: . . . (4) the judgment is void.” Fed. R. Civ. P. 60(b)(4). Relief

under Rule 60(b) is “an extraordinary remedy and may be granted only upon a

showing of exceptional circumstances.” S. Annville Twp. v. Kovarik, No. 1:13-

CV-01780, 2015 WL 4638218, at *2 (M.D. Pa. Aug. 4, 2015), aff’d in part, 651 F.

App'x 127 (3d Cir. 2016) (citing In re Fine Paper Antitrust Litig., 840 F.2d 188,

194 (3d Cir. 1988)). However, “a court deciding a motion brought under Rule

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60(b)(4) ‘has no discretion because a judgment is either void or it is not.’” On

Track Transp., Inc. v. Lakeside Warehouse & Trucking Inc., 245 F.R.D. 213, 215

(E.D. Pa. 2007) (citing Fafel v. Diapaola, 399 F.3d 403, 409–10 (1st Cir. 2005)

(quotation omitted)).

       “Rule 60(b) [] provides an ‘exception to finality,’ that ‘allows a party to seek

relief from a final judgment, and request reopening of his case under a limited set

of circumstances,’” such as when a judgment is void. Jakks Pac., Inc. v. Accasvek,

LLC, 270 F. Supp. 3d 191, 196 (D.D.C. 2017), aff’d, 727 F. App'x 704 (D.C. Cir.

2018) (citing United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 269–70

(2010) (quotation omitted)). Courts may look beyond the pleadings in considering

a motion under Rule 60(b), “and may make factual findings, as necessary to

determine jurisdiction.” Id. (citing St. Paul Fire & Marine Ins. Co. v. Univ.

Builders Supply, 409 F.3d 73, 82 (2d Cir. 2005)).

       “‘[T]he district court has no discretion [in ruling on a 60(b)(4) motion], the

judgment is either void or it is not.’” Recreational Props., Inc. v. Sw. Mortgage

Serv. Corp., 804 F.2d 311, 314 (5th Cir. 1986) (citation omitted). On appeal of

motions for relief under Rule 60(b)(4), Courts of Appeals conduct a plenary, de

novo review. Page v. Schweiker, 786 F.2d 150, 152 (3d Cir. 1986). Indeed,

“[u]nder Rule 60(b)(4)[,] a deferential standard of review is not appropriate

because if the underlying judgment is void, it is a per se abuse of discretion for a

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district court to deny a movant’s motion to vacate the judgment under Rule

60(b)(4).” Cent. Vermont Pub. Serv. Corp. v. Herbert, 341 F.3d 186, 189 (2d Cir.

2003) (citation omitted).

       B. Federal Courts Only Have Authority to Adjudicate Cases Within
          Their Constitutional or Statutory Grant of Subject Matter
          Jurisdiction

       “It is fundamental that federal courts must have subject matter jurisdiction

before reaching the merits of a case.” GBForefront, L.P. v. Forefront Mgmt. Grp.,

LLC, 888 F.3d 29, 34 (3d Cir. 2018) (citing Zambelli Fireworks Mfg. Co. v. Wood,

592 F.3d 412, 418 (3d Cir. 2010)). Constitutional or statutory limits upon federal

jurisdiction “must be neither disregarded nor evaded.” Owen Equip. & Erection

Co. v. Kroger, 437 U.S. 365, 374 (1978). Indeed, “federal courts are without

power to adjudicate the substantive claims in a lawsuit, absent a firm bedrock of

jurisdiction.” Carlsberg Res. Corp. v. Cambria Sav. & Loan Ass’n, 554 F.2d 1254,

1256 (3d Cir. 1977).

       If a federal court lacks subject matter jurisdiction it “must immediately

dismiss the action and, in fact, is powerless to do otherwise.” In re Cmty. Bank of

N. Virginia Mortg. Lending Practices Litig., 954 F. Supp. 2d 360, 380 (W.D. Pa.

2013). As the U.S. Court of Appeals for the District of Columbia Circuit has

explained, “judgments in excess of subject-matter jurisdiction are not voidable, but



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simply void.” Bell Helicopter Textron, Inc. v. Islamic Republic of Iran, 734 F.3d

1175, 1180 (D.C. Cir. 2013) (internal citation and quotation marks omitted).

       When a federal court’s jurisdiction is premised on diversity of citizenship

under 28 U.S.C. § 1332, the case must involve complete diversity: “the

presence . . . of a single plaintiff from the same state as a single defendant deprives

the district court of original diversity jurisdiction over the entire action.” Exxon

Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553 (2005) (citations

omitted). “It is axiomatic that the federal judiciary’s diversity jurisdiction depends

on complete diversity between all plaintiffs and all defendants.” See Dev. Fin.

Corp. v. Alpha Housing & Health Care, Inc., 54 F.3d 156, 158 (3d Cir. 1995).

Citizenship of the litigants is considered at the time of commencement of the suit,

because, as Justice Scalia explained, jurisdiction “depends upon the state of things

at the time of the action brought.” Grupo Dataflux v. Atlas Glob. Grp., L.P., 541

U.S. 567, 571 (2004) (citing Mollan v. Torrance, 9 Wheat. 537, 539, 6 L.Ed. 154

(1824)).

       “[N]either the convenience of litigants nor considerations of judicial

economy can suffice to justify extension of the doctrine of ancillary jurisdiction to

a plaintiff's cause of action against a citizen of the same State in a diversity case.”

Kroger, 437 U.S. at 377. Put simply, without subject matter jurisdiction at the

inception of litigation, this Court lacked authority to adjudicate this action.

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       C. Subject Matter Jurisdiction Can be Challenged for the First Time on
          Appeal and Can be Challenged by a Plaintiff and/or Judgment Loser

       Unlike personal jurisdiction, litigants cannot consent to subject matter

jurisdiction or waive a defect in subject matter jurisdiction. Carlsberg, 554 F.2d at

1255. “[A] court’s subject-matter jurisdiction cannot be expanded to account for

the parties’ litigation conduct.” Kontrick v. Ryan, 540 U.S. 443, 456 (2004). Thus,

a district court should sua sponte raise the issue of lack of subject matter

jurisdiction if the parties do not. Carlsberg, 554 F.2d at 1255.

       A party can challenge subject matter jurisdiction “at any point before final

judgment, even if challenged for the first time on appeal.” In re Kaiser Grp. Int’l

Inc., 399 F.3d 558, 565 (3d Cir. 2005) (citing Grupo, 541 U.S. at 567). Subject

matter jurisdiction can even be challenged by the party who originally invoked it,

Rubin v. Buckman, 727 F.2d 71, 74 (3d Cir. 1984), or a “judgment loser.” Frett-

Smith, 511 F.3d at 398 n.3. As Chief Judge Smith in Frett-Smith explained:

                “A litigant generally may raise a court’s lack of subject-
                matter jurisdiction at any time in the same civil action,
                even initially at the highest appellate instance.” Kontrick
                v. Ryan, 540 U.S. 443, 455, 124 S.Ct. 906, 157 L.Ed.2d
                867 (2004) (citing Mansfield, C. & L.M.R. Co. v. Swan,
                111 U.S. 379, 382, 4 S.Ct. 510, 28 L.Ed. 462 (1884)
                (challenge to a federal court’s subject matter jurisdiction
                may be made at any stage of the proceedings, and the court
                should raise the question sua sponte)); Capron v. Van
                Noorden, 2 Cranch 126, 127, 2 L.Ed. 229 (1804)
                (judgment loser successfully raised lack of diversity
                jurisdiction for the first time before the Supreme Court);
                Fed.R.Civ.P. 12(h)(3) (“Whenever it appears by
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                suggestion of the parties or otherwise that the court lacks
                jurisdiction of the subject matter, the court shall dismiss
                the action.”).

Id. Moreover, as Justice Scalia observed, “all challenges to subject matter

jurisdiction premised upon diversity of citizenship [are measured] against the facts

that existed at the time of filing—whether the challenge be brought shortly after

filing, after the trial, or even for the first time on appeal.” Grupo, 541 U.S. at 570

(citing Capron, 2 Cranch 126, 2 L.Ed. 229). “Diversity is to be determined at the

time the complaint is filed.” Frett-Smith, 511 F.3d at 399 n.4 (citation omitted).

       After a judgment has been entered, a motion under Rule 60(b)(4) is the

proper method for challenging a court’s subject matter jurisdiction. “Relief under

60(b)(4) is appropriately sought when [a] judgment is void. A judgment can be

voided . . . if the rendering court lacked subject matter jurisdiction . . . .” Constr.

Drilling, Inc. v. Chusid, 131 F. App'x 366, 372 (3d Cir. 2005) (citing 11 Charles

Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure

§ 2862); see also Hrobuchak v. Fed. Ins. Co., No. CIV.A. 3:10-0481, 2013 WL

2291875, at *5 (M.D. Pa. May 24, 2013) (citing Marshall v. Bd. of Ed.,

Bergenfield, N. J., 575 F.2d 417, 422 (3d Cir. 1978) (“A judgment may indeed be

void, and therefore subject to relief under 60(b)(4), if the court that rendered it

lacked jurisdiction of the subject matter . . . .”) (citations omitted)). There is no

time limit for moving to vacate a judgment as void under Rule 60(b)(4) because,

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“no passage of time can transmute a nullity into a binding judgment.” On Track

Transp., 245 F.R.D. at 215 (citing United States v. One Toshiba Color Television,

213 F.3d 147, 157 (3d Cir. 2000)).

       D. The Court Never Had Subject Matter Jurisdiction Over This Action
          Because Plaintiff Robert J. Clauss was a New Jersey Citizen When
          the Complaint was Filed

       Applied here, the Court must grant Plaintiffs’ Rule 60(b)(4) motion because

it never had subject matter jurisdiction. As explained above, subject matter

jurisdiction was premised on diversity jurisdiction under 28 U.S.C. § 1332, yet not

all Plaintiffs were diverse from all Defendants. Like Defendants, Plaintiff Robert

J. Clauss was a New Jersey citizen when this case was initiated.

       An individual’s citizenship for diversity jurisdiction purposes is determined

by the individual’s domicile. GBForefront, 888 F.3d at 34. An individual’s

domicile “is his true, fixed and permanent home and place of habitation. It is the

place to which, whenever he is absent, he has the intention of returning.”

Patterson v. Amazon, No. 1:18-CV-01482, 2019 WL 2502565, at *2 (M.D. Pa. Jan.

17, 2019), report and recommendation adopted, No. 1:18-CV-01482, 2019 WL

2502324 (M.D. Pa. Apr. 15, 2019) (citing McCann v. Newman Irrevocable Tr.,

458 F.3d 281, 286 (3d Cir. 2006) (quoting Vlandis v. Kline, 412 U.S. 441, 454

(1973))). “To acquire a domicile, a person must be physically present in a state

and intend to remain in that state.” Pierro v. Kugel, 386 F. App’x. 308, 309 (3d

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Cir. 2010) (emphasis in original). In addition, there is a “presumption of

continuing domicile,” whereby an individual retains her domicile until she (1) is

physically present in a new state, and (2) intends to remain there. Garcia-Mones v.

Groupo Hima San Pablo, Inc., 875 F. Supp. 2d 98, 101 (D.P.R. 2012) (citing

Padilla-Mangual v. Pavia Hosp., 516 F.3d 29, 31 (1st Cir. 2008)); see also Hamlin

v. Holland, 256 F. Supp. 25, 27 (E.D. Pa. 1966) (“There is ordinarily a

presumption in favor of an original or former domicile as against an acquired one

and proof of a change must be clear and convincing.”).

       In addition to physical presence in a state, evidence of an individual’s intent

include: “establishment of a home, place of employment, location of assets, and

registration of car, and, generally, centering one’s business, domestic, social, and

civic life in a jurisdiction.” Bell v. Pleasantville Hous. Auth., 443 F. App’x. 731,

734–35 (3d Cir. 2011) (citation omitted). Other indicia of domicile include voting

and obtaining a driver’s license. Krasnov v. Dinan, 333 F. Supp. 751, 752 (E.D.

Pa. 1971), supplemented, 339 F. Supp. 1357 (E.D. Pa. 1972), and aff’d, 465 F.2d

1298 (3d Cir. 1972).

       Here, when the Complaint was filed in May 2015, Mr. Clauss was domiciled

in, and thus a citizen of, New Jersey. As explained above, although Mr. Clauss

was periodically in Pennsylvania because he owned property at Lake Ariel, he had

been domiciled in New Jersey since 1988. [Ex. A at ¶ 4]. He lived and worked in

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New Jersey [id.]; filed and paid income taxes in New Jersey [id. at ¶ 7]; voted in

New Jersey; and maintained a New Jersey driver’s license. [Id. at ¶¶ 5–6]. Mr.

Clauss was most frequently physically present in New Jersey and intended New

Jersey to be his domicile; thus, he was a New Jersey citizen. [Id. at ¶ 8]. He did

not form an intent to change his domicile until August 2015, three months after this

action was brought, when Mr. Clauss’s son went off to college. [Id. at ¶ 9]. Mr.

Clauss then moved to his Lake Ariel property full time. [Id. at ¶ 11].

       Importantly, at no time prior to the filing of the Complaint in May 2015 –

the operative date for domicile/citizenship purposes – did Mr. Clauss intend to

change his domicile. Prior to August 2015, he always intended to, and did, in fact,

return to New Jersey, his then “true, fixed and permanent home and place of

habitation.” McCann, 458 F.3d at 286. Therefore, Mr. Clauss was clearly a New

Jersey citizen at the time this action was initiated.

       The Supreme Court’s decision in Grupo is instructive in cases such as this

one, where extensive litigation has occurred over many years before a

jurisdictional defect is brought to light. In Grupo, the Court reiterated that “the

time-of-filing rule [applies] regardless of the costs it imposes.” 541 U.S. at 571.

The Court considered that dismissing that case after more than 6 ½ years of

litigation may result in “an almost certain replay of the case, with, in all likelihood,

the same ultimate outcome.” Id. at 581 (quotation omitted). Nevertheless, the

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Court reversed the Court of Appeals’ decision, which reversed the District Court’s

dismissal for lack of subject matter jurisdiction, because the Court determined that

complete diversity did not exist at the time the complaint was filed. Id. at 582.

This Court must come to the same result here.

III.   CONCLUSION

       It is indisputable that this Court never had subject matter jurisdiction over

this action because not all Plaintiffs were diverse from all Defendants at the time

the action was initiated. Because the Court lacked subject matter jurisdiction, the

Court’s judgment and orders are void and legal nullities. As such, the Court must

grant Plaintiffs’ Motion for Relief from Judgment under Rule 60(b)(4).



 Dated: November 11, 2020                 STEVENS & LEE, P.C.

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